           Case 6:23-cv-00712-ADA Document 284 Filed 10/12/23 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

   ARIGNA TECHNOLOGY LIMITED                       §
                                                   §
                    Plaintiff,                     §      Civil Action No. 6:21-cv-00943-ADA
                                                   §
            v.                                     §
                                                   §
   APPLE INC.,                                     §          JURY TRIAL DEMANDED
                                                   §
                    Defendant.                     §
                                                   §

        APPLE’S UNOPPOSED MOTION TO SEVER AND STAY ’343 PATENT

       Defendant Apple Inc. (Apple) files this unopposed motion to sever and stay all claims

related to U.S. Patent Number 6,603,343 (the ’343 patent). On October 3, 2023, the Patent Trial

and Appeal Board (PTAB) issued a Final Written Decision finding asserted claim 1 of the ’343

patent unpatentable. See Ex. 1 (IPR2022-00651, Paper 29 (’343 FWD)) at 47. Apple respectfully

moves to sever and stay Arigna’s affirmative infringement claims and Apple’s affirmative

defenses with respect to the asserted claim of the ’343 patent. In further support of this Motion,

Apple states the following:

       •         Arigna currently asserts that Apple infringes two patents: U.S. Patent No. 8,947,164

                 (the ’164 patent) and U.S. Patent Number 6,603,343 (the ’343 patent). As it relates

                 to the ’343 patent, Arigna asserts claim 1 against Apple.

       •         Apple, LG Electronics, Inc., LG Electronics U.S.A., Inc. LG Electronics

                 Mobilecomm U.S.A., Inc., Samsung Electronics Co., Ltd., and Samsung Electronics

                 America, Inc. filed a petition for Inter Partes Review of the ’343 Patent on March

                 10, 2022 (IPR2022-00651).
           Case 6:23-cv-00712-ADA Document 284 Filed 10/12/23 Page 2 of 5




       •      The PTAB instituted the petition on October 6, 2022, and issued a Final Written

              Decision on October 3, 2023. Ex. 1 (IPR2022-00651, Paper 29 (’343 FWD)). The

              Final Written Decision found claims 1 and 2 of the ’343 patent to be unpatentable.

              Id.

       •      Currently, no appeals have been filed regarding the Final Written Decision for the

              ’343 patent.

       •      The PTAB declined to institute a petition for inter partes review of the asserted

              claims of the ’164 patent.

       In light of the PTAB’s Final Written Decision with respect to the ’343 patent, and the

Court’s prior practice involving cases in which IPRs have impacted some, but not all of the asserted

patents (see 2023-8-16 Pretrial Hr’g Tr. at 123:5-124:1), Apple maintains that this case would

benefit from severing and staying the asserted claims of the ’343 patent pending any appeals of

the PTAB’s Final Written Decision. Arigna does not oppose Apple’s request to sever and stay

litigation as it relates to the ’343 patent’s asserted claim. The Parties agree that the case will

otherwise proceed as to the asserted claims of the ’164 patent.

       Severance of the ’343 patent claims would allow the current proceedings in this Court to

continue without delay, and therefore streamline this litigation and preserve the Court’s and the

Parties’ resources. Severing and staying the claims related to the ’343 patent would also preserve

all Parties’ rights as to those claims and/or corresponding defenses, including all affirmative

defenses. If the appeal of the Final Written Decision results in affirmance, the Court and the Parties

will avoid the need to proceed to trial on both the infringement and invalidity claims related to the

’343 patent. Murata Mach. USA v. Daifuku Co., 830 F.3d 1357, 1362 (Fed. Cir. 2016) (“Attendant

to the district court’s inherent power to stay proceedings is the court’s discretionary prerogative to




                                                  2
         Case 6:23-cv-00712-ADA Document 284 Filed 10/12/23 Page 3 of 5




balance considerations beyond those captured by the three-factor stay test. The burden litigation

places on the court and the parties … is one such consideration that district courts may rightfully

choose to weigh.”) On the other hand, if the Federal Circuit or Supreme Court reverses and/or

vacates the PTAB’s ruling, then the Parties may later proceed to trial on Arigna’s infringement

claims relating to the ’343 patent and Apple’s affirmative defenses.

       Apple thus submits this Unopposed Motion to Sever and Stay the Claims of the ’343 patent

pending completion of any appeals of the PTAB’s Final Written Decision regarding the ’343

patent. The Parties will file a joint status report concerning their respective positions on whether

any of the severed and stayed claims from the ’343 patent should be reinstated within 30 days from

the latter of either (1) the completion of the last appeal (including any petitions for certiorari), or

(2) the expiration of the period within Arigna must seek any such appeal.


Dated: October 12, 2023                                Respectfully submitted,


                                                       /s/ Michael A. Amon
                                                       John M. Guaragna
                                                       Texas Bar No 24043308
                                                       john.guaragna@dlapiper.com
                                                       DLA PIPER LLP (US)
                                                       303 Colorado St., Suite 3000
                                                       Austin, TX 78701
                                                       Telephone: (512) 457-7125

                                                       Roger A. Denning
                                                       CA Bar No. 228998
                                                       denning@fr.com
                                                       Michael A. Amon
                                                       CA Bar No. 226221
                                                       amon@fr.com
                                                       FISH & RICHARDSON P.C.
                                                       12860 El Camino Real, Suite 400
                                                       San Diego, CA 92130
                                                       Telephone: 858-678-5070



                                                  3
Case 6:23-cv-00712-ADA Document 284 Filed 10/12/23 Page 4 of 5




                                  Martina Tyreus Hufnal
                                  DE Bar No. 4771
                                  tyreushufnal@fr.com
                                  FISH & RICHARDSON P.C.
                                  222 Delaware Avenue, 17th Floor
                                  P.O. Box 1114
                                  Wilmington, DE 19899
                                  Telephone: (302) 652-5070

                                  Noah C. Graubart
                                  Georgia Bar No. 141862
                                  graubart@fr.com
                                  Christopher O. Green
                                  Georgia Bar No. 037617
                                  cgreen@fr.com
                                  Jacqueline Tio
                                  Georgia Bar No. 940367
                                  tio@fr.com
                                  FISH & RICHARDSON P.C.
                                  1180 Peachtree Street NE, 21st Floor
                                  Atlanta, GA 30309
                                  Telephone: (404) 892-5005
                                  Eli Svetlov
                                  Texas Bar Number 24106483
                                  svetlov@fr.com
                                  FISH & RICHARDSON P.C.
                                  909 Fannin Street, Suite 2100
                                  Houston, TX 77010
                                  Telephone: (713) 654-5300

                                  Elizabeth R. Moulton
                                  CA Bar No. 286937
                                  emoulton@orrick.com
                                  ORRICK, HERRINGTON & SUTCLIFFE
                                  LLP
                                  1000 Marsh Road
                                  Menlo Park, CA 94025
                                  Telephone: 415-773-5673

                                  Attorneys for Apple Inc.




                              4
        Case 6:23-cv-00712-ADA Document 284 Filed 10/12/23 Page 5 of 5




                              CERTIFICATE OF SERVICE

      The undersigned certifies that a true and correct copy of the above document was filed

through the Court’s CM/ECF system on October 12, 2023.

                                           /s/ Michael A. Amon




                                              5
